IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
WESTERN DIVISION
Consolidated Civil Action

RALEIGH WAKE CITIZENS
ASSOCIATION, et al.
Plaintiffs,
V. No. 5:15-cv-156
WAKE COUNTY BOARD
OF ELECTIONS,
Defendant.
CALLA WRIGHT, et al.,
Plaintiffs,
v. No. 5:13-cv-607

THE STATE OF NORTH CAROLINA,
et al.,

Defendants.

DECLARATION OF J, GERALD HEBERT IN SUPPORT OF PLAINTIFFS’ REQUEST FOR
ATTORNEYS’ FEES AND LITIGATION EXPENSES

Pursuant to 28 U.S.C. § 1746, I, J. Gerald Hebert, hereby declare:

1. lam over the age of 18 and am competent to testify.

2. Ireceived a B.A. degree from Stonehill College in 1970. I attended Suffolk University
School of Law from 1970 to 1973 where I received a J.D. degree. 1 am a member of the

Virginia, D.C. and Pennsylvania (inactive) bars. I am also a member of the bar of the

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United States Supreme Court, the United States Courts of Appeals for the Second, Fourth,
Fifth, Eighth, Tenth, Eleventh and D.C. Circuits, the United States District Court of the
Eastern District of Virginia, and the United States District Court for the District of
Columbia.

. Following my graduation from law school, from 1973 until 1994, I served as a trial
attorney in the Civil Rights Division of the United States Department of Justice in
Washington, D.C. For the last fifteen years of my service at the Department of Justice
(from 1979 to 1994), I was assigned to the Voting Section of the Civil Rights Division
where I worked exclusively on cases involving federally protected voting rights. While
employed in the Voting Section from 1979 to 1994, I served in a number of supervisory
capacities, including Senior Litigation Counsel, Deputy Chief, and Acting Chief of the
Voting Section.

. While at the Department of Justice, I served as the lead trial attorney for the United States
in numerous voting rights cases, a number of which ultimately became landmark cases in
the field of voting rights. Cases that I handled at the Department of Justice that were the
subject of United States Supreme Court decisions included City of Mobile v. Bolden,
Rogers v. Lodge, Johnson v. DeGrandy, Presley v. Etowah County, City of Port Arthur,
Texas v. U.S., and Shaw v. Reno, among others. A complete listing of cases I handled at
the United States Department of Justice is attached to this Declaration as Attachment A.
Since leaving the Department of Justice in May 1994, I have been a solo practitioner with
an office in Alexandria, Virginia, where I specialize in voting and election law cases,
including cases involving the Voting Rights Act and campaign finance law. A listing of

the cases | have handled in my solo practice is also set forth in Attachment A hereto.

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In addition, since 2013, I have been involved in several other cases arising under the
Voting Rights Act. For example, I serve as co-counsel to the lead plaintiffs who have
challenged (successfully, thus far) the Texas photo ID law under the Voting Rights Act
and the U.S. Constitution (Veasey v. Abbott). In addition, I represented parties or amici
curiae in briefs filed in the U.S. Supreme Court in Shelby County v. Holder (2013);
Harris v. Arizona Independent Redistricting Commission (2015); Evenwel v. Abbott
(2015); and Shapiro v. McManus (2015). I also serve(d) as legal counsel in: Perez v.
Abbott (pending Texas redistricting case); Baca v. Berry, Tenth Circuit Court of Appeals
(2015); League of Women Voters v. Florida, Florida Supreme Court and trial court
(Florida redistricting case); Harding v. Dallas County, Texas, U.S. District Court for the
Northern District of Texas (2016). I also represented parties or amici curiae in a number
of major campaign finance cases over the last ten years, including Citizens United v.
FEC; McCutcheon v. FEC, U.S. Supreme Court; Wagner v, FEC, D.C. Circuit; Delaware
Strong Families v. Biden, Third Circuit Court of Appeals; Van Hollen v. FEC, D.C.
District Court and D.C. Circuit; and Public Citizen v. FEC, D.C. District Court and D.C.
Circuit, among many others.

In addition, from 1994 to approximately 1996, I served part-time as a staff attorney in the
Voting Rights Project of the national office of the Lawyers’ Committee for Civil Rights
Under Law in Washington, D.C. In that position, I served as co-counsel for defendant-
intervenors in racial gerrymandering cases brought under the Shaw v. Reno doctrine.

In addition to my solo practice, from July 2004 to 2016, I have served as Executive

Director and Director of Litigation at the Campaign Legal Center, a non-partisan, non-

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profit organization in Washington, DC. | am currently Director of the Voting Rights and
Redistricting projects at the Campaign Legal Center.

. From January 1995 to 2006 and from 2013 to the present, I have served as an Adjunct
Professor of Law at Georgetown University Law Center in Washington, DC, where I
teach Election Law, which includes voting rights, campaign finance regulation, and
election law. From 2015 to the present, I also have served as an Adjunct Professor of
Law a New York Law School in New York City, where I teach a course on voting rights
(including redistricting law). In 1997, I co-taught a course on the Voting Rights Act at
the University of Virginia Law School with Professor Pam Karlan. In 1995, I also served
as an Adjunct Professor of Law at American University’s Washington College of Law,
where | taught a course on the Voting Rights Act and the political process.

I have written a number of publications, books and articles on the Voting Rights Act or
redistricting. For example, I co-authored a book on redistricting entitled “The Realists’
Guide to Redistricting,” which was published by the American Bar Association in 2000
and republished in 2010 (2™ edition). I also published an article on redistricting reform
for the Yale Law and Policy Journal, articles on bailouts under the Voting Rights Act, and
other law journal articles. Several of these articles have been co-authored with other
counsel or academic scholars who have served as expert witnesses in voting rights cases.
The following is a partial list of my publications: Rutgers Law Journal (co-authored);
Redistricting in the Post-2000 Era, George Mason University Law Review; Redistricting
in the Post 2010 Cycle: Lessons Learned?, ABA Human Rights Publication (August
2012); General Theory of Vote Dilution, La Raza Law Journal, Boalt Hall School of Law,

University of California at Berkeley (Vol. 6, No. 1) (1993) (co-authored); Future of

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Voting Rights Litigation: Elections at the Legislative Level, La Raza Law Journal, Boalt
Hall School of Law (Vol. 6, No. 1) (1993); Keeping the Courts Honest: the Role of
Historians as Expert Witnesses in Southern Voting Rights Cases, Southern University
Law Review (Vol. 16, No. 1) (Spring 1989) (co-authored); Civil Rights Law: High Court
Decision on voting Rights Act Helps to Remove Minority Barriers, National Law Journal
(November 1986); and Discriminatory Electoral Systems and the Political Cohesion
Doctrine, National Law Journal (Vol. 10, No. 4) (1987) (co-authored).

I have also written several articles about voting rights for publications that are geared to
state and local governments, including publications by the Texas Municipal League and
the Nation’s Cities Weekly.

| have given lectures or participated as a panelist and made presentations at or sponsored
by: Yale Law School, Harvard Law School, Columbia Law School, William and Mary
Law School, Washington and Lee University Law School, George Washington University
Law School, Georgetown University Law Center, University of Richmond Law School,
and Rutgers Law School, among others. I also have lectured before bar associations and
other groups on voting rights, reapportionment, and civil rights, including the National
Conference of State Legislatures, the Houston (TX) Bar Association, the Association of
Southern State Legislatures, the Virginia Association of Local Government Attorneys,
and reapportionment authorities in the States of Louisiana, Maryland, New Mexico and
Virginia, among others.

As a practitioner in this field, I am very familiar with the degree of complexity of
redistricting and voting rights litigation and the type of knowledge and experience that is

required to successfully represent clients in these difficult cases. This is a highly

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specialized field of law and requires a sophisticated understanding of statutory and
constitutional principles, as well as the ability to work with complex statistical data and
political information.

As a practitioner in the field of election law and voting rights litigation, I am familiar
with the leading law firms and non-profits that practice in this area. Only a relative
handful of non-profit organizations in the United States have specialized knowledge,
experience, and expertise in this area of law. While SCSJ was founded only 9 year ago,
the organization has a stellar reputation in the voting rights arena. I understand that the
national office of the NAACP frequently asks SCSJ to represent state conferences of the
NAACP in redistricting and voting rights litigation. Among other voting rights non-
profits, SCSJ is extremely well regarded and its attorneys play a leading role in litigation
in this field.

I follow redistricting cases and voting rights cases very closely. SCSJ has extensive
experience litigating cases from around the country related to the redistricting process,
racial gerrymandering and the Voting Rights Act. Examples of such cases that I am
aware of include the following: Dickson v. Rucho/NC NAACP v. NC, Case Nos. 11-CVS-
16896 and 11-CVS-16940 (Wake County NC Superior Court); Covington v. North
Carolina, Case No. 1:15-cv-00399 (M.D.N.C.); Perez v. Perry, Case No. 5:11-cv-00360
(W.D. Tx.); Texas v. United States, Case No. 5:11-cv-001303 (D.D.C.); Moore v. Haslam,
Case No. M2013-00811-COA-R3-CV (Tenn. Court of Appeals); League of Women Voters
v. Detzner/Romo vy, Detzner, Case Nos. 2012-CA-412 and 2012-CA-490 (Florida

Supreme Court), and Personhuballah v. Alcorn, Case No. 3:13-cv-00678 (E.D. Va.).

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15. | am familiar with the nature of the claims in this case, and more generally with claims
brought under the one-person, one-vote (equal population) guarantee of the Fourteenth
Amendment. It is my opinion that the claims brought by Plaintiffs here (and ably
prosecuted by SCSJ attorneys on their behalf) are groundbreaking claims that required
high levels of expertise to prosecute successfully. Prior to the United States Supreme
Court decision in Harris v. Ariz. Redistricting Commission in 2016, the applicable
analysis for one-person, one-vote challenges to redistricting plans with deviations less
than 10% was difficult to explain and varied from circuit to circuit. In Harris, the
Supreme Court confirmed Plaintiffs’ theory of this case. It is my opinion that only a firm
with enormously talented, experienced voting rights litigators could have won this case.

16. I am also familiar with the way that non-profits such as the Southern Coalition for Social
Justice generally litigate cases such as these. In many cases, non-profit organizations
such as SCSJ must partner with larger firms, who work pro bono with the expectation
that they will collect fees if successful, in order to try cases of this magnitude. By
working independently, SCSJ certainly kept its costs down and prosecuted the case in a
fiscally conservative manner.

17. | am familiar with attorneys’ fees in the field of political law, which in large measure is
dominated by firms and non-profits based in Washington, D.C. In Washington D.C.,
hourly rates for experienced, well-regarded political law litigation partners have broad
range depending on nature of work, years of experience, nature of experience and other
factors. These rates generally range from as low as $650 an hour to as high as $1150 an

hour, with exceptions existing below and above those rates. The same is true for the

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billing range for associates—those rates usually range from as low as $350 an hour to
$650 an hour, again with exceptions both below and above those amounts.

I have known Anita Earls for more than a decade and I am familiar with her practice. I
understand Ms. Earls graduated from Yale Law School in 1988. I understand that Ms.
Earls is the Executive Director of the Southern Coalition for Social Justice (SCSJ) in
Durham, NC. Prior to found SCSJ in 2007, I understand that Ms. Earls worked in private
practice in Charlotte, NC, for the United States Department of Justice, and for the
Lawyers’ Committee for Civil Rights, and in each practice, had a focus on voting rights
litigation. In all, I understand that Ms. Earls has nearly 30 years of litigation experience,
representing clients in dozens of proceedings in both state and federal courts. Ms. Earls
has represented plaintiffs in several high profile redistricting and voting rights cases,
including in Florida, Texas, Tennessee and North Carolina. I understand that she has
argued voting rights cases in the 1", 4", and 11™ Circuits, including winning an en banc
argument in the 1“ Circuit Court of Appeals. I know that she has written numerous briefs
for the United States Supreme Court in redistricting and voting rights cases.
Additionally, | understand that she has been an Adjunct Professor at the University of
North Carolina School of Law and the University of Maryland School of Law; an
Adjunct Professor in the African and African-American Studies Department of Duke
University, and was a Visiting Research Fellow at the Social Science Research Institute,
Center for Race, Ethnicity and Gender in the Social Sciences from 2009 to 2012,
conducting research on census and redistricting issues. Finally, I understand that she has

published on voting rights issues in law reviews, popular journals and edited volumes,

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and has been a presenter at many continuing legal education programs, conferences and
forums.

In my opinion, Ms. Earls hourly rate of $550 is reasonable. While I appreciate that the
appropriate hourly rate in North Carolina is lower than that in D.C., her hourly rate is still
well below the market rate for a voting rights litigator with her skills, expertise,
experience, and reputation.

I have known Allison Riggs for approximately 6 years and am familiar with her practice.
I understand that Ms. Riggs graduated from the University of Florida School of Law in
2009, and that she began work with the Southern Coalition for Social Justice immediately
upon graduation. I understand that her practice over the last seven years has been almost
entirely devoted to redistricting and voting rights litigation. I understand that she has
been lead counsel representing the Texas NAACP, the Virginia NAACP and the Florida
NAACP in redistricting cases. I understand that in the last seven years, Ms. Riggs has
litigated (or represented amici in ) 25 voting rights cases, and has authored several United
States Supreme Court briefs on voting rights issues. I understand that Ms. Riggs has
published on voting rights issues in a law journal, and has been a presenter at many
voting rights programs, conferences and forums.

In my opinion, Ms. Riggs hourly rate of $400 is reasonable. Again, appreciating that the
appropriate hourly rate in North Carolina is lower than that in D.C., it is still my opinion
her hourly rate is still well below the market rate for a voting rights litigator with her
skills, experience, and reputation.

I understand that SCSJ staff attorneys George Eppsteiner, Clare Barnett and Emily

Seawell also assisted in this litigation at various points between 2013 and 2016. I

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understand that Mr. Eppsteiner graduated from the University of Florida School of Law
in 2010. After graduation, I understand that he worked as a civil litigator at Macfarlane,
Ferguson & McMullen in Tampa, FL, and at Cranfill, Sumner & Hartzog in Raleigh, NC. I
understand that he joined SCSJ in August 2014 as a voting rights attorney, and that his
practice since then has been focused on election and voting rights law. I understand that
he left SCSJ in July 2016, to join the Voting Section of the United States Department of
Justice. I understand that Clare Barnett graduated from Duke University Law School in
2011. From 2011 until December 2013, she worked as a voting rights staff attorney at
SCSJ. Finally, I understand that Emily Seawell graduated from the Elon University
School of Law in May 2015. I understand that she worked with SCSJ’s voting rights
practice as a full-time extern in the spring of 2015, was hired as a voting rights fellow
after her graduation, and was hired as a voting rights staff attorney at SCSJ following her
bar passage in March of 2016.

23. | understand that Mr. Eppsteiner’s hourly rate is $300 and that Ms. Seawell’s hourly rate
in the spring of 2015 through the fall of 2015, and then following her licensure in 2016,
was $200 and $250, respectively. These hourly rates are entirely reasonable and
appropriate for associates with their experience in political law litigation.

I declare under penalty of perjury under the laws of the District of Columbia that the

foregoing is true and correct.

EXECUTED at Washington, D.C., this the 22M day of November, 2016.
Ab er Hobs
C / J. Gerald Hebert

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